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    4
        Attorney for Plaintiffs Circle Inn
    5   Development & Management, Inc.,
        a California corporation;
    6   National Association of Real Sales
        People, Inc., a California corporation
    7
    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
   10
                                                   Case No.: 5:21-cv-02061-JWH-SHK
   11   Circle Inn Development &
        Management, Inc., a California             [Removal from Superior Court of
   12   corporation; National Association of       California, Riverside County Case No.
        Real Sales People, Inc., a California      CVRI2104692]
   13   corporation,
   14         Plaintiffs,                          PLAINTIFF’S FIRST AMENDED
                                                   VERIFIED COMPLAINT FOR:
   15         v.
                                                      1. BREACH OF CONTRACT
   16   Global Signal Acquisitions IV LLC, a          2. BREACH OF COVENANT OF
        Delaware limited liability company;              GOOD FAITH AND FAIR
   17   Crown Castle Towers 06-2 LLC, a                  DEALING
        Delaware limited liability company; and       3. INTENTIONAL
   18   Does 1-50, inclusive,                            MISREPRESENTATION
                                                      4. NEGLIGENT
   19         Defendants.                                MISREPRESENTATION
                                                      5. FRAUD & DECEIT
   20                                                 6. UNFAIR COMPETITION
                                                         (VIOLATION OF CAL. BUS.
   21                                                    & PROF. CODE § 17200)
                                                      7. NEGLIGENCE
   22
   23
                                                   State Action Filed: October 14, 2021
   24
   25
   26
   27
   28


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    1         Plaintiffs, Circle Inn Development & Management, Inc., a California
    2   corporation; National Association of Real Sales People, Inc., a California
    3   corporation (hereinafter “Plaintiffs”) alleges as follows:
    4                                         PARTIES
    5         1.      Plaintiff, Circle Inn Development & Management, Inc. a California
    6   corporation ("Circle") is an active business entity corporation lawfully formed in
    7   California with its principal place of business in Jurupa Valley in the County of
    8   Riverside, State of California.
    9         2.      Plaintiff, National Association of Real Sales People, Inc., a California
   10   Corporation (“Real”) is an active business entity corporation lawfully formed in
   11   California with its principal place of business in Jurupa Valley in the County of
   12   Riverside, State of California.
   13         3.      Plaintiff Circle and Plaintiff Real are collectively referred to as
   14   “Plaintiffs” throughout the First Amended Verified Complaint.
   15         4.      Plaintiffs are informed and believe, and on that basis, alleges that
   16   Defendant Global Signal Acquisitions IV LLC, a Delaware limited liability
   17   company ("Global") is a Delaware formed entity limited liability company
   18   operating and actively doing business in the County of Riverside, State of
   19   California.
   20         5.      Plaintiffs are informed and believe, and on that basis, alleges that
   21   Defendant, Crown Castle Towers 06-2 LLC, a Delaware limited liability company
   22   ("Crown") is a Delaware formed entity limited liability company operating and
   23   actively doing business in the County of Riverside, State of California.
   24         6.      Defendant’s Global and Crown are collectively referred to as
   25   “Defendants” throughout the First Amended Verified Complaint.
   26         7.      Plaintiffs are ignorant of the true names and capacities, whether
   27   individual, corporate, associate, or otherwise, of the Defendants sued herein as
   28   DOES 1 through 50 inclusive, and therefore sues said Defendants by such fictitious

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    1   names. Plaintiff will amend this Complaint to allege their true names and capacities
    2   when the same have been ascertained.
    3         8.     At all times herein mentioned each of the Defendants was the agent,
    4   employee, partner, principal, representative, alter ego, and/or affiliate of each of
    5   the remaining Defendants and, was at all times herein mentioned, acting within the
    6   course and scope of such relationship. Moreover, at all times herein mentioned,
    7   each of the Defendants did confirm, conspire to, consent to, affirm, direct,
    8   authorize, acknowledge, and ratify the acts of each and every of the Defendants
    9   herein as to each of the acts hereinafter alleged.
   10                   INTRODUCTION AND FACTUAL ALLEGATIONS
   11         9.     Plaintiffs’ cause of action in this case arises from an Option and Ground
   12   Lease Agreement (“Agreement”) wherein Plaintiffs agreed to grant Defendants an
   13   option to lease a portion of Plaintiffs’ real property for a 30-year period to construct
   14   and operate a wireless communications facility. This agreement was duly executed
   15   by all parties during the month of May 2018. (Exhibit 1)
   16         10.    Prior to executing the Agreement, Plaintiffs had been advertising the
   17   premises on the open real estate market and were ecstatic to find a long-term suitable
   18   tenant that could occupy the premises for the next 30 years. Plaintiffs had made it
   19   known to Defendants they looked forward to doing business for many years to come.
   20   At the time of signing the Agreement, Defendants knowing that Plaintiffs were
   21   expecting a business relationship at least for the next 30 years, warranted that the
   22   Leased Premises and the Easements shall be used for the purpose of “(i)
   23   constructing, maintaining, and operating the Improvements” – whereas,
   24   Improvements were defined as, “a wireless communications facility, including tower
   25   structure, equipment shelters, meter boards and related improvements and structures
   26   and uses incidental thereto.”
   27         11.    After the Agreement was duly executed, Defendants had the Option to
   28   exercise and continue the Contract by giving notice of its intent to proceed no later

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    1   than August 31, 2018. During this due diligence period, Defendants had the full right
    2   and authority to conduct any of its inspections, perform tests and apply for and obtain
    3   all needed permits from the applicable government agencies to determine the
    4   feasibility and suitability of the property for Defendants use for construction of a cell
    5   tower. This included filing for any zoning. Plaintiff agreed to cooperate with any
    6   filings made by the Defendant with the City.
    7         12.    The Defendants performed its environmental reports and concluded
    8   that the Property was suitable for its needs and exercised its Option by way of a
    9   recorded notice of exercise on June 19, 2018, at which time the Lease was effective
   10   and easements were recorded. (Exhibit 1) By exercising the Option, Defendant’s
   11   promises and covenants that they would build the Improvements that the Agreement
   12   stated caused Plaintiffs to withdraw the Premises from the open rental market from
   13   seeking other prospective long-term suitable tenants.
   14         13.    On July 28, 2018, Grace Henry an employee with apparent authority to
   15   conduct business on behalf of Defendants pertaining to the Agreement, e-mailed
   16   Plaintiffs and communicated, “We [Defendants] will be filing for zoning within the
   17   next couple weeks. We will also be executing the lease at the end of August, so you
   18   two will be receiving the rent check starting in September.” (Exhibit 2) This e-mail
   19   chain also carbon-copied Rick Goetz, upon information and belief – Grace Henry’s
   20   supervisor also an employee of Defendants with apparent authority to act on behalf
   21   of Defendants and whom had knowledge of the Agreement. This e-mail further
   22   evidenced Defendants’ purported good faith promises that they would honor the
   23   provisions within the Agreement leading to building the Improvements.
   24         14.    From that point and throughout the next two years, Plaintiffs had
   25   contacted Defendants regarding status and visited the premises and noticed it had
   26   appeared that no substantial work had been commenced by Defendants on the
   27   Improvements agreed upon. Although Defendants continued to represent they were
   28   in the process of commencing Improvements, Plaintiffs became concerned that no

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    1   workmanship activity was occurring on the premises. Thereafter, Plaintiff’s
    2   contacted the City of Jurupa Valley and determined that Defendants had never filed
    3   for any zoning, sought out any permits or completed any regulatory/environmental
    4   studies – substantial work towards completing the construction of Improvements as
    5   indicated in the Agreement, in a July 28, 2018 e-mail correspondence on behalf of
    6   Defendants, and a November 5, 2019 e-mail correspondence on behalf of
    7   Defendants.
    8          15.    Plaintiffs surmised from Defendant’s stagnant acts that lasted over two
    9   years, that at the time the Agreement was duly executed and the Option was
   10   exercised by way of a recorded notice of exercise on June 19, 2018; and thereafter
   11   on July 28, 2018 Defendant’s agent with apparent authority representing to Plaintiffs
   12   that they were going to be filing for zoning within a few weeks, Defendant’s never
   13   had the intent to filing for any zoning, sought out any permits, or complete the
   14   construction of Improvements as represented and warranted to Plaintiffs. This
   15   continued for the next year as Defendants continually communicated to Plaintiffs
   16   that   they   were    still   in   the   “due   diligence”   phase   and   conducting
   17   “regulatory/environmental studies” before Improvements could occur. When
   18   Plaintiffs inquired by writing to Defendants as to the status of filing for any zoning,
   19   pulling permits, or when the Improvements would be completed at the premises,
   20   Plaintiffs were caught off guard and ultimately surprised to receive a termination
   21   notice from Defendants general counsel during the month of May 2021.
   22          16.    Plaintiffs fully performed its covenants and obligations under the
   23   Agreement, whereas Defendant’s acts of never filing for any zoning (despite
   24   warranting they would be), never pulling any permits, conducting any
   25   regulatory/environmental studies or performing any substantial work towards
   26   completing the Improvements conveyed that Defendants never acted in good faith
   27   from the commencement of the Agreement, when the Option was exercised June 19,
   28   2018 and July 28, 2018 when Defendants continued to warrant they were in the

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    1   process of filing for zoning and conducting any regulatory/environmental studies.
    2            17.   Defendants did not materially disclose to Plaintiffs their intent of never
    3   pulling any zoning, pulling any permits, conducting any regulatory/environmental
    4   studies or perform any construction work of Improvements when the Agreement was
    5   executed, afterwards when the Option was exercised on June 19, 2018 and further
    6   on July 28, 2018 when Defendants agent with apparent authority misrepresented to
    7   Plaintiffs that they would be filing for zoning “within the next couples weeks” and
    8   November 5, 2019 when Defendants misrepresented to Plaintiffs they were currently
    9   working through their regulatory/environmental studies – however thereafter,
   10   Plaintiffs discovered none of these representations never ultimately occurred. Based
   11   on all of Defendant’s acts – Defendants only wanted to contract with Plaintiffs to
   12   hold the premises “hostage” at a low fixed rental rate with a low 4% rental increase
   13   each year that was supposed to last 30 years, all while Plaintiffs later discovered that
   14   Defendants sought out other nearby properties to lease which Defendants would
   15   actually utilize in a similar matter to the Agreement entered into between Plaintiffs
   16   and Defendants.
   17            18.   Rental rates in the area of where the premises is situated had drastically
   18   risen in the two and half years since the Agreement was executed and Option was
   19   exercised, more than what the Agreement had stated along with the low 4% rental
   20   increase each year. Had Plaintiffs known that Defendants were never going to
   21   perform to the Agreement and actually not file for any zoning, pull any permits or
   22   construct any Improvements, Plaintiffs could have kept the premises on the open
   23   real estate market and continued to look for a suitable long-term tenant at the
   24   increased comparable market rental rates that existed throughout the past two, plus
   25   years.
   26            19.   Pursuant to Paragraph 31 of the Agreement, Plaintiffs’ counsel had
   27   attempted to confer with Defendants’ general counsel, Adam Barsotti on September
   28   13, 2021 and compel AAA Arbitration between the parties pursuant to the

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    1   Agreement, however Defendant’s general counsel did not respond to this request.
    2         20.     Plaintiffs, unable to unilaterally commence arbitration proceedings
    3   through AAA without Defendants agreeing to arbitrate, filed the instant action in
    4   California State Court, Superior Court of California County of Riverside, on October
    5   14, 2021. Defendants were personally served by their corporate agent on November
    6   8, 2021, and Defendants thereafter filed a notice of removal to this Court on
    7   December 9, 2021 – 31 days after being served the Summons and Complaint. On
    8   February 22, 2022, this Court ultimately ruled that this action be ordered to Court
    9   Mediation Panel for mediation and that the ADR proceeding to be held no later than
   10   November 18, 2022. Plaintiffs are in the process of obtaining consent of a neutral on
   11   the Court Mediation Panel and conferring with Defendant’s counsel on selection of
   12   a neutral.
   13                                 JURISDICTION AND VENUE
   14          21. This Court has original jurisdiction of Defendants and venue is proper
   15   under 28 U.S.C. §§§1332; 1391; 1965(a). Complete diversity of citizenship exists
   16   between the parties and the amount of controversy exceeds $75,000, exclusive of
   17   interest and costs.
   18                              FIRST CAUSE OF ACTION
   19                     (Breach of Contract – Against All Defendants)
   20         22.    Plaintiffs reallege and reincorporate by reference all paragraphs
   21   above, as though fully set forth in this paragraph.
   22         23.    Under California law, the elements of a cause of action for breach of
   23   contract are: (1) the existence of the contract, (2) plaintiff's performance or excuse
   24   for nonperformance, (3) defendant's breach, and (4) the resulting damages to the
   25   plaintiff. See Reichert v. General Ins. Co. (1968) 68 Cal.2d 822, 830, 69 Cal.Rptr.
   26   321, 442 P.2d 377.
   27         24.     On or about May 31, 2018, Plaintiffs Circle and National, as the
   28


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    1   landlord and Defendant Global entered into a binding contract for the Option and
    2   Ground Lease Agreement, whereby Plaintiffs agreed to lease and Defendant agreed
    3   to rent for a period of thirty (30) years an approximately fifty (50) feet by fifty (50)
    4   feet parcel of land located in Jurupa Valley, County of Riverside, State of
    5   California identified as APN 173-153-009.
    6         25.     On or about June 19, 2018, Defendant Global provided notice to
    7   Plaintiffs Circle and National of its notice of intent to exercise the option and
    8   ground lease and thereafter recorded such notice as document # 2019-0267431 in
    9   the official records of the County of Riverside, State of California. The documents
   10   comprising the parties' documents are as follows: Option and Ground Lease
   11   Agreement dated May 31, 2018 and the Exercise of the Option dated June 19, 2018
   12   (the "Contract"), attached as Exhibit 1 and incorporated by this reference. This
   13   evidenced the existence of a contract between the parties and Plaintiff’s
   14   performance by offering to lease to Defendants, an approximately fifty (50) feet by
   15   fifty (50) feet parcel of land to rent for a period of thirty (30) years.
   16         26.     Thereafter within the next month from June 19, 2018 to July 28, 2018
   17   on information and belief, Defendant Global transferred and assigned its rights into
   18   the Contract to Defendant Crown.
   19         27.     According to the Agreement, Defendants were to comply with
   20   Paragraph 11, Use of Property which identified Improvements in Paragraph 1. The
   21   Agreement states as follows:
   22
   23                1.     Definitions.      ““Improvements”         means         a    wireless
   24                       communications        facility,   including     tower       structure,
   25                       equipment shelters, meter boards and related improvements
   26                       and structures and uses incidental thereto.”
   27
   28


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    1                11.   Use of Property “The Leased Premises and the Easements
    2                      shall be used for the purpose of (i) constructing, maintaining,
    3                      and operating the Improvements …”
    4
    5         28.     The Leased Premises shall be used for the purpose of (i) constructing
    6   maintaining and operating the Improvements. All actions from Defendants
    7   evidenced Defendants did not construct the Improvement or otherwise known
    8   as the cell tower during the two year period after the Agreement and Option were
    9   executed.
   10         29.     Defendant never intended to construct any Improvements at the time
   11   the Option was executed or shortly thereafter when Defendant’s agent with
   12   apparent authority communicated on July 28, 2018 that Defendants were filing for
   13   zoning permits in the “next few weeks” thereafter, thus establishing the timeline
   14   when the breach occurred. Generally speaking, a cause of action for breach of
   15   contract accrues at the time of the breach. Abbott v. 76 Land & Water Co. (1911)
   16   161 Cal. 42, 47—49, 118 P. 425; Van Horne v. Treadwell (1913) 164 Cal. 620,
   17   622—623, 130 P. 5; Coughlin v. Blair (1953) 41 Cal.2d 587, 598, 262 P.2d 305;
   18   see 4 Corbin on Contracts, 946.) Over the next year, Defendants continued to
   19   represent to Plaintiffs that they were in the process of working through their
   20   regulatory/environmental studies before commencing the Improvements.
   21         30.     Plaintiffs’ basis for entering into the Agreement with Defendants was
   22   for them to lease the premises and construct and operate a cell tower on the property
   23   of Plaintiffs. From these actions describe above, Plaintiffs have demonstrated that
   24   they entered into a Contract with Defendants – the existence of a contract; that
   25   Plaintiffs performed to the contract – Plaintiffs performed by allowing the premises
   26   be exclusively available for only the Defendants for the intended purpose of
   27   constructing Improvements; Defendant’s breached – Defendant’s breached by not
   28   constructing any Improvements whatsoever after exercising the Option and had

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     1   even mispresented that they were in the process of filing for zoning and conducting
     2   regulatory/environmental studies when no actions by Defendants evidenced any
     3   type of zoning filing or conducting regulatory/environmental studies whatsoever;
     4   which has led to the Plaintiff suffering damages – Plaintiff is out compensatory
     5   damages they were to expect to receive throughout the 30 year tenancy had
     6   Defendants made any improvements as promised when leasing the premises.
     7          31.       As a direct, foreseeable, and proximate result of Defendant’s breach
     8   of the Agreement, Plaintiffs have suffered damages, and been damaged and
     9   continues to be damaged in an amount to be determined at trial, but not less than
    10   two-million United States of America dollars ($2,000,000.00), plus interest.
    11   Additionally, as a result of the breach by Defendants of the Agreement, Plaintiff
    12   has incurred legal fees and costs.        Plaintiff reserve the right to amend this
    13   Complaint to state the true nature and extent of its damages when ascertained or at
    14   time of trial.
    15                              SECOND CAUSE OF ACTION
    16     (Breach of Covenant of Good Faith and Fair Dealing – Against All Defendants)
    17          32.       Plaintiffs reallege and reincorporate by reference all paragraphs
    18   above, as though fully set forth in this paragraph.
    19          33.       Under California law, an action for breach of the implied covenant
    20   of good faith and fair dealing requires an underlying agreement of some sort
    21   (contract, letter of intent, preliminary agreement to use best efforts to agree, etc.).
    22   Racine v. Laramie, Ltd. v. Department of Parks & Recreation (1992) 11
    23   Cal.App.4th 1026. Plaintiffs and Defendants duly entered into an Agreement as
    24   stated above.
    25          34.       “There is an implied covenant of good faith and fair dealing in every
    26   contract that neither party will do anything which will injure the right of the other
    27   to receive the benefits of the agreement.” Comunale v. Traders & General Ins. Co.
    28   (1958) 50 Cal.2d 654, 658 [328 P.2d 198], internal citation omitted. A breach of

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     1   the implied covenant of good faith and fair dealing involves “something beyond
     2   breach of the contractual duty itself.” Careau & Co. v. Sec. Pac. Bus. Credit, Inc.,
     3   222 Cal. App. 3d 1371, 1394 (1990) (internal quotation marks omitted). The
     4   allegations must show “that the conduct of the defendant … demonstrates a failure
     5   or refusal to discharge contractual responsibilities … by a conscious and deliberate
     6   act.” Id. at 1395. The covenant is implied by law in every contract and supplements
     7   the express contractual obligations “to prevent a contracting party from engaging
     8   in conduct which … frustrates the other party’s rights to the benefits of the
     9   contract.” Thrifty Payless, Inc. v. Americana at Brand, LLC, 218 Cal. App. 4th
    10   1230, 1244 (2013) (internal quotation marks omitted).
    11         35.     The covenant imposes on each party to the contract the duty to
    12   refrain from doing anything which would render performance of the contract
    13   impossible by any act of his own, and also the duty to do everything that the
    14   contract presupposes that each party will do to accomplish its purpose. Lueras v.
    15   BAC Home Loans Servicing, LP (2013) 221 Cal.App.4th 49.
    16         36.     Good faith is defined as “honesty in fact and the observance of
    17   reasonable commercial standards of fair dealing.” California Commercial Code §
    18   1201(20) The duty of good faith and fair dealing applies to both the performance
    19   and the enforcement of the contract. Carma Developers (Cal.), Inc. v. Marathon
    20   Development California, Inc. (1992) 2 Cal.4th 342. Bad faith in the performance
    21   of a contract may be overt or may consist of inaction and may exist even if the actor
    22   believes his conduct is justified. Fair dealing may require more than honesty.
    23   Jacobs v. Tenneco W. (1986) 186 Cal.App.3d 1413.
    24         37.     Plaintiffs did all, or substantially all of the significant things that the
    25   Contract/Agreement required them to do.
    26         38.     That all conditions required for Defendant’s performance had
    27   Occurred when they exercised the Option.
    28         39.     That Defendants conduct at the time the Agreement commenced,

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     1   thereafter when the Option was exercised, and shortly thereafter when Defendant’s
     2   agent with apparent authority falsely communicated and misrepresented to
     3   Plaintiffs that Defendants were in the process of filing for zoning “within the next
     4   couple weeks” and thereafter for the next year claiming that Defendants were in
     5   the process of their due diligence of conducting regulatory/environmental studies
     6   when that was never the case, even years later – all showing inaction and bad faith
     7   on the part of the Defendants whom communicated that their actions were justified
     8   – led to Defendant’s arbitrarily providing a notice of cancellation of the Agreement
     9   almost 3 years later; ultimately prevented Plaintiffs from receiving the financial
    10   benefits under the contract/Agreement of what was supposed to be a 30-year term
    11   because of Defendant’s egregiously bad faith that existed since the commencement
    12   of the Agreement.
    13          40.    That by doing so, Defendants did not act fairly and in good faith at
    14   any point when the Agreement was executed, the Option was exercised, and
    15   thereafter when Defendant’s agent with apparent authority continued to falsely
    16   communicate and misrepresent to Plaintiffs that Defendants were in the process of
    17   constructing Improvements by filing for zoning “within the next couple weeks”
    18   and still conducting “regulatory/environmental studies” over a year alter – Thus,
    19   Defendants failed and refused to discharge their contractual responsibilities
    20   through conscious and deliberate acts to frustrate their contractual agreement with
    21   Plaintiffs.
    22          41.    Had Plaintiffs knew Defendant’s true intentions at the time the
    23   Agreement commenced, or when the Option was exercised, or thereafter even when
    24   Defendants continued to falsely communicate and misrepresent for Defendants
    25   never taking any steps whatsoever to file for zoning, seeking out any permits,
    26   conducting any actual due diligence of conducting regulatory/environmental
    27   studies or completing any substantial work towards completing the construction of
    28   Improvements as indicated in the Agreement – Plaintiffs would not have entered

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     1   into the Agreement at all. Defendants simply negotiated in bad faith since the
     2   commencement of the Agreement, when the Option was exercised thereafter and
     3   continued when Defendants on repeated occasions, misrepresented to Plaintiffs that
     4   they were in the process of filing for zoning permits and in the process of
     5   conducting regulatory/environmental studies, when none of these actions occurred
     6   at all.
     7                               THIRD CAUSE OF ACTION
     8                   (Intentional Misrepresentation – Against All Defendants)
     9             42.     Plaintiffs reallege and reincorporate by reference all paragraphs
    10   above, as though fully set forth in this paragraph.
    11             43.    After the Agreement was duly executed, and thereafter when
    12   Defendants exercised the Option, Defendants made the following intentional
    13   representations by e-mail through their agent Grace Henry, whom had apparent
    14   authority to Plaintiffs, on which Plaintiffs relied to its detriment:
    15
    16             “Bob it was nice to speak with you yesterday. I wanted to follow up the
    17             phone call. We will be filing for zoning within the next couple weeks.” (July
    18             28, 2018 e-mail – Exhibit B)
    19
    20             44.     Thereafter, as Plaintiffs continued to inquire about the status of
    21   Improvements being made, Defendants continued to made the following
    22   intentional misrepresentations by e-mail through their agent Grace Henry, whom
    23   had apparent authority to Plaintiffs, on which Plaintiffs relied to its detriment:
    24
    25             “As we discussed, Crown has to run through due diligence processes before
    26   any construction can occur. We are currently working through our
    27   regulatory/environmental studies.” (November 5, 2019 email – Exhibit C)
    28


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     1         45.      When Plaintiffs received a notice of cancellation from Defendants
     2   in May 2021, Plaintiff contacted the City of Jurupa Valley and determined that
     3   Defendants had never pulled any zoning permits, any other permits or conducted
     4   any regulatory/environmental studies at any point when the Agreement was
     5   executed or shortly thereafter when the Option was exercised by Defendants.
     6         46.      After the Agreement was executed and the Option was thereafter
     7   recorded, Defendants had no intention of following the terms of Paragraph 11
     8   of the Agreement – “The Leased Premises and the Easements shall be used for
     9   the purpose of (i) constructing, maintaining, and operating the Improvements
    10   …” despite misrepresenting to Plaintiffs that they were in the process of
    11   constructing Improvements.
    12         47.       Defendants knew, that at the time of the commencement of the
    13   Agreement, when the Option was exercised, and when Defendant’s agent with
    14   apparent authority continued to falsely communicate and misrepresent to Plaintiffs
    15   that they were in the process of constructing improvements by way of filing for
    16   zoning “in next few weeks” and were in the process of due diligence conducting
    17   regulatory/environmental studies – knew that those intentional misrepresentations
    18   were false and made these representations with the intention to induce Plaintiffs to
    19   act in reliance on these representations.
    20         48.       Instead, Defendants only wanted to contract with Plaintiffs to hold
    21   the premises “hostage” at a low fixed rental rate with a low 4% rental increase each
    22   year that was supposed to last 30 years, all while Plaintiffs later discovered that
    23   Defendants sought out other nearby properties to lease which Defendants would
    24   actually utilize in a similar matter to the Agreement entered into between Plaintiffs
    25   and Defendants.
    26         49.      In doing the acts herein alleged, Defendants by and through their
    27   agent with apparent authority acted with oppression, fraud, and malice, and
    28   Plaintiffs are entitled to punitive damages.

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     1                              FOURTH CAUSE OF ACTION
     2                (Negligent Misrepresentation – Against All Defendants)
     3         50.       Plaintiffs reallege and reincorporate by reference all paragraphs
     4   above, as though fully set forth in this paragraph.
     5         51.       After the Agreement was duly executed in May 2018, and thereafter
     6   when Defendants exercised the Option in June 2018, one month later on July 28,
     7   2018 Defendants made the following representations by e-mail through their agent
     8   Grace Henry, whom had apparent authority to Plaintiffs, on which Plaintiffs relied
     9   to its detriment:
    10
    11         “Bob it was nice to speak with you yesterday. I wanted to follow up the
    12         phone call. We will be filing for zoning within the next couple weeks.”
    13
    14         52.       Thereafter, as Plaintiffs continued to inquire about the status of
    15   Improvements being made, Defendants continued to made the following
    16   intentional misrepresentations by e-mail through their agent Grace Henry, whom
    17   had apparent authority to Plaintiffs, on which Plaintiffs relied to its detriment:
    18
    19         “As we discussed, Crown has to run through due diligence processes before
    20   any construction can occur. We are currently working through our
    21   regulatory/environmental studies.” (November 5, 2019 email – Exhibit C)
    22
    23         53.           However, Defendants had no intention of pulling zoning permits,
    24   seeking out any other permits, coordinating any due diligence by conducting any
    25   regulatory/environmental studies or complete any substantial work towards
    26   completing the construction of Improvements as indicated in the Agreement and
    27   Option.     When      Defendant’s   agent   with   apparent   authority    made      the
    28   misrepresentation that they were going to file for zoning and were purportedly in

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     1   the process of due diligence by conducting regulatory/environmental studies when
     2   that never occurred; it ultimately showed that Defendants never acted in good-faith
     3   and at all times believed it would do whatever it wanted. This is further evidenced
     4   that in the last two and a half years, Defendants never sought any zoning permits,
     5   any other permits, conducted any regulatory/environmental studies or commenced
     6   substantial work towards completing the construction of Improvements.
     7          54.       Due to the continued negligent misrepresentations made by
     8   Defendant’s Agent Grace Henry who had apparent authority, that Defendants
     9   would pull zoning permits after the Agreement and Option was exercised, and that
    10   Defendants were purportedly in the due diligence phase of conducting
    11   regulatory/environmental studies, Plaintiffs are entitled to compensatory damages,
    12   legal fees, and costs.
    13                              FIFTH CAUSE OF ACTION
    14                        (Fraud & Deceit – Against All Defendants)
    15          55.       Plaintiffs reallege and reincorporate by reference all paragraphs
    16   above, as though fully set forth in this paragraph.
    17          56.       Under California law, the elements of a cause of action for fraud
    18   are: “(a) misrepresentation (false representation, concealment, or nondisclosure);
    19   (b) knowledge of falsity (or ‘scienter’); (c) intent to defraud, i.e., to induce reliance;
    20   (d) justifiable reliance; and (e) resulting damage.” Engalla v. Permanente Medical
    21   Group, Inc. (1997) 15 Cal.4th 951, 974; see also Molko v. Holy Spirit Ass’n (1988)
    22   46 Cal.3d 1092, 1108.
    23          57.       Plaintiffs’ basis for entering into the Agreement with Defendants
    24   Was for them to lease the premises and construct and operate a cell tower on the
    25   property of Plaintiffs, which would lead to a 30-year tenancy. This was directly
    26   communicated from Plaintiffs to Defendants prior to the Agreement being
    27   executed. Defendants knowing this basis – misrepresented, concealed and did not
    28   disclose their true motive of only wanting to contract with Plaintiffs to hold the

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     1   premises “hostage” at a low fixed rental rate with a low 4% rental increase each
     2   year that was supposed to last 30 years, all while Defendants sought out other
     3   properties to lease which they would actually utilize in a similar matter as to the
     4   purpose of the Agreement executed and did not disclose this to Plaintiffs.
     5          58.       Defendants not only negotiated in bad faith, but misrepresented,
     6   concealed and did not disclose their bad faith position to Plaintiffs prior to the
     7   Agreement being executed, after the Agreement was executed and thereafter after
     8   Option was exercised, thereby defrauding Plaintiffs and inducing reliance on
     9   Plaintiffs to contract.
    10          59.       Defendants false representations, concealment, and non-disclosure
    11   of their bad faith position continued when Defendant’s agent with apparent
    12   authority misrepresented to Plaintiffs on multiple occasions that they would be
    13   filing for zoning “within the next couple weeks” and were in the process of their
    14   due diligence phase “conducting regulatory/environmental studies” – all
    15   evidencing Plaintiff’s justifiable reliance that Defendants would perform to the
    16   Agreement, all while Defendants were aware of Plaintiffs’ basis for entering into
    17   the Agreement with Defendants in the first place.
    18          60.       A party seeking relief from intentional deceit/fraud must prove that
    19   [they] actually relied on the defendant’s misrepresentation. Actual reliance occurs
    20   when a misrepresentation is an immediate cause of plaintiff’s conduct and which,
    21   absent such representation, he would not have engaged in the activity in all
    22   probability. Conroy v. Regents of University of California (2009) 45 Cal.4th 1244.
    23   Reliance may be proven by circumstantial evidence, as well as by direct evidence.
    24   The law will presume reliance when representations have been made and action
    25   taken thereafter. McAdams v. Monier, Inc. (2010) 182 Cal.App.4th 174. It’s
    26   important to note that a single false representation as to a material fact made with
    27   the intent to defraud and relied upon by another party supports an action for fraud.
    28


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     1   Tenet Healthsystem Desert, Inc. v. Blue Cross of California (2016) 245
     2   Cal.App.4th 821.
     3            61.       After the Agreement was executed, the Option was exercised, and
     4   further when Defendant’s agent with apparent authority continued to state they
     5   were performing to the Agreement by pulling zoning permits in the next few weeks,
     6   and thereafter over a year later when Defendants falsely represented they were in
     7   the due diligence phase by conducting regulatory/environmental studies – Plaintiffs
     8   continued to rely on Defendants’ representations that Defendants would perform
     9   as Defendants knew all along Plaintiffs’ basis for entering into the Agreement with
    10   Defendants. Plaintiffs’ reliance on Defendants’ representations is not just
    11   circumstantial evidence, but is backed up by direct evidence – Defendant’s agent
    12   with apparent authority’s misrepresentations to Plaintiffs by her e-mails. Plaintiffs
    13   conduct at that point when the misrepresentations; concealments and
    14   nondisclosures were made, were the immediate cause of Plaintiff’s conduct in
    15   continuing the Agreement and which, absent such misrepresentations;
    16   concealments; and nondisclosures made by Defendant’s agent with apparent
    17   authority to Plaintiffs, Plaintiffs would not have further engaged in the activity in
    18   all probability.
    19            62.       Plaintiffs ultimately discovered that no zoning permits were
    20   pulled, no other permits were pulled, no actual due diligence of conducting
    21   regulatory/environmental studies were performed, and that no construction of
    22   Improvements had yet commenced during a two and a half year to three-year period
    23   after the Agreement was executed – Plaintiffs inquired with Defendants as to the
    24   multiple misrepresentations made by Defendants agent with apparent authority,
    25   and thereafter received a notice of cancellation from Defendants when Plaintiffs
    26   discovered none of Defendants representations never ultimately occurred at any
    27   point.
    28            63.       A misrepresentation must be of a material fact, essential to the

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     1   analysis undertaken by the plaintiff and such that the plaintiff would not have acted
     2   as he did without it. (Prakashpalan v. Engstrom, Lipscomb & Lack (2014) 223
     3   Cal.App.4th 1105.) The fact represented or suppressed is deemed material if it
     4   relates to a matter of substance and directly affects the purpose for which the
     5   deceived party acted. (In re Marriage of Goodwin-Mitchell & Mitchell (2019) 40
     6   Cal.App.5th 232.)
     7         64.        The resulting damages: Had Plaintiffs known that Defendants
     8   were never going to perform to the Agreement and not construct any
     9   Improvements, Plaintiffs could have kept the premises on the open real estate
    10   market and continued to look for a suitable long-term tenant at the increased
    11   comparable market rental rates that existed throughout the past two, plus years.
    12   Plaintiffs were supposed to receive at least a two million dollar ($2,000,000.00)
    13   benefit of a contract expected to last 30-years. This would be vital for when
    14   discovery commences.
    15         65.        In the acts herein alleged, Plaintiffs have sustained at the very least
    16   compensatory damages. When fraudulent deceit occurs, the Defendants are liable
    17   to the plaintiff “for any damage which he thereby suffers.” California Civ. Code §
    18   1709. However, damage recovery is limited to those consequences that the
    19   defendant could reasonably foresee when making the misrepresentation. Melican
    20   v. Regents of University of California (2007) 151 Cal.App.4th 168. Plaintiffs, as a
    21   “recipient of a fraudulent misrepresentation is entitled to recover as damages in an
    22   action of deceit against the maker the pecuniary loss to him …. (a) the difference
    23   between the value of what he or she has received in the transaction and its purchase
    24   price or other value given for it; and (b) pecuniary loss suffered otherwise as a
    25   consequence of the recipient’s reliance upon the misrepresentation.” OCM
    26   Principal Opportunities Fund, L.P. v. CIBC World Markets Corp. (2007) 157
    27   Cal.App.4th 835.
    28         66.        In the acts herein alleged, Defendants also acted with oppression,

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     1   fraud, malice, thereby entitling Plaintiffs to punitive damages.
     2                                 SIXTH CAUSE OF ACTION
     3           (Unfair Competition (Violation of Cal. Bus. & Prof. Code § 17200)
     4                                 – Against All Defendants)
     5          67.       Plaintiffs reallege and reincorporate by reference all paragraphs
     6   above, as though fully set forth in this paragraph.
     7          68.       Defendant’s conduct as alleged herein constitutes unlawful,
     8   unfair, or fraudulent business acts or practices in violation of California Business
     9   and Professions Code § 17200 et seq.
    10          69.       Unless Defendants are restrained from continuing these unlawful,
    11   unfair, and fraudulent business acts or practices Plaintiffs will suffer irreparable
    12   harms and injuries.
    13          70.       As a direct and proximate result of the foregoing conduct,
    14   Defendants have been unjustly enriched. Plaintiffs are entitled to full disgorgement
    15   of all profits obtained by Defendants as a result of their unlawful, unfair, and
    16   fraudulent acts as alleged herein.
    17                            SEVENTH CAUSE OF ACTION
    18                           (Negligence – Against All Defendants)
    19          71.       Plaintiffs reallege and reincorporate by reference all paragraphs
    20   above, as though fully set forth in this paragraph.
    21          72.       Defendants, including their own agents with apparent authority
    22   owed Plaintiffs a duty of care after the Agreement was executed.
    23          73.       Defendants, and each of them breached their duty owed to
    24   Plaintiffs.
    25          74.       Based on the negligence of Defendants, and each of them,
    26   Plaintiffs were harmed.
    27          75.       The negligence of Defendants, and each of them, was a
    28   substantial factor in causing Plaintiffs harm.

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     1             WHEREFORE, Plaintiffs pray for relief as follows:
     2        1.      For compensatory damages according to proof at the time of trial;
     3        2.      For general damages according to proof;
     4        3.      For punitive and exemplary damages according to proof;
     5        4.      For legal interest on said sums;
     6        5.      Attorneys’ fees and costs to the extent permitted by law;
     7        6.      Costs of suit herein incurred as provided by law;
     8        7.      For such other and further relief as the Court deems just and proper
     9                against all Defendants.
    10
    11   DATED: March 8, 2022                            Law Office of James M. Blucker
    12
    13                                                   By: /s/ James M. Blucker
    14                                                     James M. Blucker
                                                           Attorney for Plaintiffs Circle Inn
    15                                                     Development & Management, Inc.,
    16
                                                           a California corporation;
                                                           National Association of Real Sales
    17                                                     People, Inc., a California
                                                           corporation
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     1                                   VERIFICATION
     2         I, Robert Fred Newsom Jr., am the President/CEO of Plaintiff, Circle Inn
     3   Development & Management, Inc., a California corporation. I hereby verify and
     4   declare under penalty of perjury that I have read the foregoing First Amended
     5   Verified Complaint and know of its contents thereof, and that the matters contained
     6   in the First Amended Verified Complaint are true to the best of my knowledge,
     7   information, and belief.
     8         I hereby verify and declare under penalty of perjury that the foregoing is true
     9   and correct.
    10
    11   Date: March 8, 2022
    12                                                       Robert Fred Newsom Jr.
                                                             on behalf of Plaintiff, Circle
    13
                                                             Inn Development &
    14                                                       Management, Inc., a California
    15
                                                             Corporation

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     1                                   VERIFICATION
     2         I, Robert Fred Newsom Jr., am the President/CEO of Plaintiff, National
     3   Association of Real Sales People, Inc., a California corporation. I hereby verify and
     4   declare under penalty of perjury that I have read the foregoing First Amended
     5   Verified Complaint and know of its contents thereof, and that the matters contained
     6   in the First Amended Verified Complaint are true to the best of my knowledge,
     7   information, and belief.
     8         I hereby verify and declare under penalty of perjury that the foregoing is true
     9   and correct.
    10
    11   Date: March 8, 2022
    12                                                        Robert Fred Newsom Jr.
                                                              on behalf of Plaintiff, National
    13                                                        Association of Real Sales
                                                              People, Inc., a California
    14                                                        corporation
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                     EXHIBIT A
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                                            OPTION AND GROUND LEASE AGREEMENT
                                                                                            0
                                                    STATE OF CALIFORNIA


  TIDS OPTION AND GROUND LEASE AGREEMENT (the                               "Improvements" means a ,vireless communications facility,
  "Agreement") is made as of the date of the final signature below,    including tower structures, equipment shelters, meter boards and
  by and between CIRCLE INN DEVELOPMENT &                              related improvements and structures and uses incidental thereto.
  MANAGEMENT, INC., a _California corporation, as to an
  undivided one-half interest; and NATIONAL ASSOCIATION                     "Lease Term" means a period of thirty (30) years following
  OF REAL ESTATE SALES PEOPLE, a California corporation,               the Commencement Date.
  as to an undivided one-half interest ("Lessor") and GLOBAL
  SIGNAL ACQUISITIONS IV LLC, a Delaware limited liability                 "Leased Premises" means that portion of Lessor's Property
  company (''Lessee").                                                 consisting of a parcel of approximately fifty (50) feet by fifty
                                                                       (50) feet, as described in the sketch attached hereto as Exhibit
  I.   Definitions.                                                    "B". The boundaries oftbe Leased Premises may be subject to
                                                                       modification as set forth in Section 8.
     "Agreement" means this Option and Ground Lease
 Agreement.                                                                 "Lessee's Notice Address" means c/o Crown Castle USA
                                                                       Inc., General Counsel, Attn: Legal - Real Estate Dept., 2000
     "Approvals" means all certificates, permits, licenses and         Corporate Drive, Canonsburg, PA 15317-8564, 1-866-482-8890.
 other approvals that Lessee, in its sole discretion, deems
 necessary for its intended use of the Leased Premises.                   ''Lessor's Notice Address" means 41396 Bitter Creek Court,
                                                                       Temecula, California 92591-1545 C020, Phone; (951) 695-0098.
      "Commencement Date" means the first day of the month
 following the month in which the Option is exercised pursuant to           "L essor's Property" means the parcel of land located in the
 Section 4(B) of this Agreement.                                       Jurupa Valley, County of Riverside, State of California, as
                                                                       shown on the Tax Map of said County as Tax Parcel Nwnber
      'Defaulting Party" means the party to tbis Agreement that        173-153-009, being further described in the instrument recorded
 has defaulted as provided for in Section 28 of this Agreement.        in County of Riverside Official Records on April 30, 2018 at
                                                                       Instruments #2018-0166353 and 2018-0166354, a copy of said
     "Due Diligence Investigation" has the meaning set forth in        instrument being attaclied hereto as Exhibit "A".
 Section 3 of this Agreement.
                                                                            "Non-Defaulting Party" means the party to this Agreement
      "Ease ments" and "Utility Easement" have the meanings set        that has not defaulted as provided for in Section 28 of this
 forth in Section 9 ofthis Agreement.                                  Agreement.

       "Hazardous Material" means any substance which is                   "Option" means the exclusive right granted to Lessee by
 (i) designated, defined, classified or regulated as a hazardous       Lessor to lease the Leased Premises pursuant to Section 2 of this
 substance, hazardous material, hazardous waste, pollutant or          Agreement.                    ,.
 contaminant under any Environmental Law, as currently in effect
 or as hereafter amended or enacted, (ii) a petroleum                       "Option Fee" means the sum of Ten Thousand and 00/100
 hydrocarbon, including crude oil or any fraction thereof and all      Dollars ($10,000.00).
 petroleUill products, (iii) PCBs, (iv) lead, (v) asbestos,
 (vi) flammable explosives, (vii) infectious materials, or                  "Option Period" means the period commencing on the date
 (viii) radioactive materials. "Environmental Law(s)" means the        of this Agreement and expiringonAugust3l, 2018; as it may"be
 Comprehensive Environmental Response, Compensation, and               extended from time to time.
 Liability Act of 1980, 42 U.S.C. Sections 9601, et seq., the
 Resource Conservation and Recovery Act of 1976, 42 U .S.C.                  "Rent" means the considei:ation payable by Lessee to
 Sections 6901, e.t seq., the Toxic Substances Control Act,            Lessor in exchange for the Leased Premises in the amount of
 15 U.S.C. Sections 2601, et seq., the Hazardous Materials             Forty-Two Thousand and 00/100 Dollars ($42,000.00) per year
 Transportation Act, 49 U.S.C. 5101, et seq., and the Clean Water      to be paid in equal monthly installments of Three Thousand Five
 Act, 33 U.S.C. Sections 1251, et seq., as said laws have been         Hundred and 00/100 Dollars ($3,500.00). After the first year of
 supplemented or amended to date, the regulations promulgated          the Lease Term and every year on the anniversary of the
 pursuant to .said laws and any other federal, state or local law, ·   Commencement Date thereafter (the "Adjustment Date"), the
 statute, rule, regulation or ordinance which regiilates or            Rent shall increase by an amount equal to four percent (4%) of
 proscribes the use, storage, disposal, "presence, clean-up,           the monthly rent in effect for the month immediately preceding
 transportation or release or threatened release into the              the Adjustment Date.
 environment of Hazardous Material. .
                                                                            "Tille Company" means Linear Title Company of California
                                                                       or any title company licensed or authorized to do business in the
                                                                       State of California as may be designated upon·notice to Lessor.



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  2. Gron t of Option to Lease. In consideration of the Option               4.
                                                                                                   0
                                                                                  Tennlnation and Exercise of Option.
  Fee paid by Lessee to Lessor upon Lessee's execution of this
  Agreement, Lessor hereby grants to Lessee the Option during the                  (A) Right to Terminate 0µ1ion. Lessee shall have the right
  Option Period to lease, on the tenns and conditions set forth in           to tenninate this Agreement at any time prior to the expiration of
 this Agreement, the Leased Premises. Crown shall designate and              the Option Period or any extension thereof by sending written
 appoint a Title Company to assume any duties and                            notice of termination to Lessor.
 responsibilities as directed by Crown to consummate the transfer
 of the option interests set forth in this Agreement                              (B) Expiration of Option Tenn: Exercise of Option. If,
 ("Transaction"), including, without limitation acting as escrow             upon expiration of the Option Period (as it may have been
 agent in connection with the collection, handling and transfer of           extended) Lessee has not exercised the Option, this Agreement
 the Option Fee and any other funds, collecting this Agreement               shall tenninate. Upon such tennination, neither party shall have
 and any other applicable documents, recordipg any applicable                any further rights or duties hereunder. Lessor shall retain the
 documents, and preparing and collecting any other                           Option Fee previously paid. Prior to expiration of the Option
 documentation reasonably required by the Title Company to                   Period (as it may have been extended) Lessee may exercise the
 consummate the Transaction. Crown shall bear the sole cost and              Option by either (i) providing written notice to Lessor of such
 expense of all standard closing costs for the Transaction,                  exercise or (ii) commencing construction of the Improvements.
 including but not limited to (i) any costs to obtain an owner's title       Upon the Commencement Date, the Lease Tenn shall commence
 insurance commitment, title policy, (ii) any costs to obtain a              and the Easements shall become effective.
 revised survey of the Leased Premises, (iii) recording fees
                                                                             S. Lessor's Cooperation. During the Option Period and the
 (including any transfer fees or stamp ta."<), and (iv) any escrow
                                                                             Lease Term, Lessor shall: {i) cooperate ,-,ith Lessee in its efforts
 fees charged by the Title Company.
                                                                             to perform its Due Diligence Investigation and to obtain all of
 3.   Due Diligence Investigat ion.                                          the Approvals, including all appeals; and (ii) take no action that
                                                                             would adversely affect · the · Leased Premises.              Lessor
      (A) Inspection Rights. During the Option Period, Lessee                acknowledges that Lessee's ability to use the Leased Premises is
 shall have the right to analyze the suitability of the Leased               contingent upon Lessee obtaining and maintaining the
 Premises for its inte~ded use. Lessee and its employees, agents,            Approvals, Additionally, Lessor grants to Lessee and its
 contractors, engineers, and surveyors shall have the right to enter         employees, representatives, agents, and consultants a limited
 upon Lessor's Property to inspect, conduct, perform and examine             power of attorney to prepare, execute, submit, file and present on
 soil borings, drainage testing, material sampling, surveys and              behalf of Lessor building, pennitting, zoning or land-use
 other geological or engineering tests or studies of Lessor's                applications with the appropriate local, state and/or federal
 Property, to apply for and obtain all licenses and permits required         agencies necessary to obtain land use changes, special
 for Lessee's use of the Leased Premises from all applicable                 exceptions, zoning variances, conditional use permits, special
 governmental or regulatory entities, and to do those things on or           use permits, administrative permits, construction permits,
 off Lessor's Property that, in the sole opinion of Lessee, are              operation pennits and/or building permits. Lessor understands
 ne·cessary to determine the physical condition of Lessor's                  that any such application and/or the satisfaction of any
 Property, the environmental history of Lessor's Property,                   requirements thereof may .require Lessor's cooperation, which
 Lessor's title to Lessor's Property and the feasibility or                  Lessor hereby agrees to provide. Lessor shall not "knowingly"
 suitability ofihe Leased Premises for Lessee's use as defined in            do or permit anything that will interfere with or negate any
 this Agreement, all at Lessee's expense (the ''Due Diligence                Approvals pertaining to the Improvements or Leased Premises
 Investi gation"').  Activities conducted in connection with                 or cause them to be in nonconfonnance with applicable local,
 Lessee's Due Diligence Investigation shall not be deemed to                 state or federal laws. Lessor agrees to execute such documents
 constitute exercise of the Option or commencement of                        as may be necessary to obtain and thereafter maintain the
 construction of the Improvements. Following completion of the               Approvals, and agrees to be named as the applicant for said
 Due Diligence Investigation, Lessee agrees to promptly restore              Approvals.
 the Lessor's Property as nearly as reasonably possible to its
 original condition prior to the Due Diligence Investigation,                6, Leuse Term. Effective upon the Commencement Date,
 reasonable w~ar and tear excepted.                                          Lessor leases the Leased Premises to Lessee for thl;l Lease Term.

      (B) Temporary Access Road and Easement fo r Due                        7. Rent. Beginning on the Commencement Date, Lessee shall
 D iligencl;l Investigation. To facilitate Lessee's Due Diligence            pay Rent for the Leased Premises.
 Investigation, Lessor hereby grants Lessee and its employees,
                                                                             8. .Leased Premises: Su1-vey. Following exercise of the
 agents, contractors, engineers and surveyors the right and an
                                                                             Option and completion of construction of the wireless
 easement to construct and use a temporary pedestrian and
                                                                             communications facility on the Leased Premises, Lessee shall
 vehicular access roadway from a public road, across Lessor's
                                                                             provide Lessor with a copy of an "as-built" survey, which shall
 Property, to the Leased Premises. The location of said temporary
                                                                             depict and identify the boundaries of the Leased Premises and
 pedestrian and vehicular access roadway on Lessor's Property is
 shown on E1:hibit "B". Such construction shall not be deemed                the Easements, and replace and supersede the sketch attached
                                                                             hereto as Exhibit ''B". The "as-built" survey shall be deemed to
 to constitute exercise of the Option or commencement of
 construction of the Improvements.                                           be incorporated into this Agreement as Exhibit "C" even if not
                                                                             physically affixed hereto. The description of the Leased
                                                                             Premises set forth in Exhibit "C" shall control in the event of


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                                          y·
  discrepancies betw.t,en Exhibit "B" and Exhibil "C". Prior to               13. lfmnlou, M,Qb.
  commencing construction of the tower, Lessee shall obtain
  Lessor's approval of the tower design and survey, which                         (A) Lessee's Obligation and Indemnity. Lessee shall not
  approval shall not be unreasonably withheld, conditioned. or               (either with or without negligence) cause or permit the escape,
  delayed; provided the tower design is approved . by the                    disposal or release of any Hazardous Materials on or from I.he·
  appropriate zoning and permitting agency governing the Leased              Leased Premises in any manner pr;ohibited by Jaw. Lessee shall ,
  Premises.                                                                  indemnify and hold Lessor harmless from any and all claims,
                                                                             damages, fines, judgments, penalties, costs, liabilities or losses
  9. Easements.            Conditioned upon and subject to                   (including, -without limitation, any and all sums paid for
   commencement of the Lease Tenn Lessor grants the following                settlement of claims, attorneys' fees, and consultants' and
   easements and rights-of-way over, under and upon Lessor's                 experts' fees) from the release of any Hazardous Materials on the
  Property to Lessee, and its successors and assigns,: (i) a non:-           Leased Premises if caused by Lessee or persons acting under
  exclusive thirty foot (30') wide casement in the Jocation sho·wn           Lessee.
  in Exhibit "B", as may be amended by Exhibit "C'', for
  construction, use, maintenance and repair of an access road for                 (B) Lessor's Obligation and Indemnity. Lessor shall not
  ingress and egress and construction and maintenance purposes,              (either with or without negJigence) cause or permit the escape,
  including staging of vehicles and equipment, seven (7) days per            disposal or release of any Hazardous Materials on or from
  week, twenty-four (24) hours per day, for pedestrians and all              Lessor's Property or Leased Premises in any manner prohibited
  types ofmotor vehicles, to extend from the nearest public right-           by law. Lessor shall indemnify and hold Lessee harmless from
  of-way to the Leased Premises; and (ii) a utility easement (Qie            any and all claims, damageis, fines, ju.dgments, penalties, costs,
  "Utility Easement") in the location shown in Exhibit "B", as               liabilities or losses (including, without limitation, any and all
  may be amended by Exhibit "C", for the installation, repair,               sums paid· for settlement of claims, attorneys' fees, and
  cepJacement and maintenance of utility wires, poles, cables,               consultants' and experts' fees) from the presence or release of
  conduits and pipes; provided that in the event that any public             any Hazardous Materials on Lessor's Propeirty or Leased
  utility i.s unable or unwilJing to use the Utility Easement in the         Premises unless caused by Lessee or persons acting wider
  location sho,,11 in Exhibit "B", as may be amended by                      Lessee.
 Exhibit "C", at the sole option of Lessee Lessor shall grant an
 alternate easement either to Lessee or directly to the public utility       14. Re:11 Estale Tues. Lessor shall pay all real estate truces on
 at no cost and in a location acceptable to Lessee and the public            Lessor's Property. Lessee agrees to reimburse Lessor for any
 utility (collectively, the "Easements"). TO HAVE AND TO                     documented increase in real estate or personal property ta.'Ces
 HOLD the Easements for the purposes provided during the Lease               levied against Lessor's Property that are directly attributable to
 Tenn and thereafter for a reasonable period of time for Lessee to           the Improvements constructed by Lessee. Lessor agrees to
 remove its irnarovements.                                                   provide Lessee any documentation evidencing the increase and
                                                                             how such increase is attributable to Lessee's use. Lessee
  IO. Lessee's Right to Terminate; Effect of Terminlltion by ·               reserves the right to challenge any such assessmenl, and Lessor
  Le&se-e. Lessee shall have the right, following its exercise of the        agrees to cooperate with Lessee in connection ,,ith any such
  Option, to terminate this Agreement, at any time, without cause,           challenge.
  by providing Lessor with one hundred eighty (180) days• prior
I wri'tten notice. Upon such ter mination, this Agreement shall              15. Insurance. At all times during the performance of its Due
  become null and void and neither party shall have any further              Diligence Investigation and during the Lease Term, Lessee, at its
  rights or duties hereunder, except that any monies owed by either          sole expense, shall obtain and keep in force insurance which may
  party to the other up to the date of tennination shall be paid             be required by any federal, state or local statute or ordinance of
  wit!un ~ ~30) days of the termination date.                                any governmental body l1aving jurisdiction in connection with
                                                                             the operation of Lessee's business upon the Leased Premises.
11. use u, ~ rupcnv. 1 ne Leas ea .nem1ses and tb,e Easements
shall be used fortbe.purpose of(i) constructing, maintaining and             16. ,vaiver of Claims and Rights of Subrogation. The parties
operating the Improvements and (ii) uses incidental thereto,                 hereby waive any and all rights of action for negligence against
inc]uding without limitation, testing of any kind by Lessee, its             the other on accollllt of damage to the Improvements, Lessor's
customers, or invitees. Lessee may place a security fence,                   Property or to the Leased Premises resulting from any fire or
around the perimeter of the Leased Premises. All Improvements                other casualty of the kind covered by property insurance policies
sball be constructed at Lessee's sole expense. Lessee will                   with extended coverage, regardless of whether or not, or in what
maintain the Leased Premises in a safe condition. It is the intent           amount, such insurance is carried by the parties. All policies of
of the parties tliat Lessee's wireless communications facility               property insurance carried by eitlier party for the Improvements,
shall not constitute a fixture. ·                                            Lessor's Property or the Leased Premises shall include a clause
                                                                             or endorsement denying to the insurer rights by way of
12. Removal of Obstructions. Lessee has the right to remove                  subrogation against the olher party to the extent rights have been
obstructions from Lessor's Property, including but not limited to            waived by the insured before the occurrence ofinjury or loss.
vegetation, which may encroach upon, interfere with or present .
a hazard to Lessee's use of the Leased Premises or the                       17. Eminent Do mnin. If Lessor receives notice of a proposed
Easements. Lessee shall dispose of any materials removed.                    taking by eminent domain of any part of the Leased Premises or
                                                                             the Easements, Lessor will notify Lessee of the proposed taking
                                                                             within five (5) days ofreceiving said notice and Le.5see will have


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 the option to: (i) declare this Agreement null and void and
                                                                                                    0
                                                                               arising from the use and occupancy of the Leased Premises or
 thereafter neither party will have any liability or obligation                Lessor's Property by such indemnifying party, its employees,
 hereunder; or (ii) remain in possession of that portion of the                contractors, servants or agents, except to the extent such claims
 Leased Premises and Easements that will not be taken, in which                are caused by the intentional misconduct or negligent acts or
 event there shall be an equitable adjustment in Rent on account               omissions of the other party, its employees, contractors, servants
 of the portion of the Leased Premises and Easements so taken.                 or agents.
 With either option Lessee shall have the right to contest the
 taking and directly pursue an award.                                          23. Lessor's Covenant of Title. Lessor covenants that Lessor
                                                                               holds good and marketable fee simple title to Lessor's Property
  18. Right of First Refusal. If, during the Option Period or the              and the Leased Premises and has full authority to enter into and .
  Lease Term, Lessor receives an offer to purchase, make a loan,               execute this Agreement. Lessor further covenants that there are
  or give any consideration in exchange for any of the following               no encumbrances or other impediments of title that might
  interests in all or a portion of the Leased Premises; (i) fee title,         interfere with or be adverse to Lessee.
  (ii) a perpetual or other easement, (iii) a lease, (iv) any present or
 _future possessory interest, (v) any or all portions of Lessor's              24. Interference with Lessee's Business. Lessee shall have the
  interest in this Agreement including rent or (vi) an option to               exclusive right to construct, install and operate wireless
  acquire any of the foregoing, Lessor shall provide written notice            communications facilities that emit radio frequencies on Lessor's
  to Lessee of said offer ("Lessor's Notice"). Lessor's Notice shall           Property. Lessor agrees that it will not permit the construction,
 include the prospective buyer's name, the purchase price being                installation or operation on Lessor's Property of (i) any
  offered, and other consideration being offered, the other terms              additional wireless communications facilities or (ii) any
  and conditions of the offer, the due diligence period, the                   equipment or device that interferes with Lessee's use of the
 proposed closing date and, if a portion ofLessor's Property is to             Leased Premises for a wireless communications facility. Each
 be sold, a description of said portion. Lessee shall have a right             of the covenants made by Lessor in this Section is a covenant
 of first refusal to purchase, at its election and on the terms and            running with the land for the benefit of the Leased Premises.
 conditions as in Lessor's Notice a fee simple interest in Lessor's
 Property or Leased Premises or a perpetual easement for the                   25. Quiet Enjovmenl. Lessor covenants that Lessee, on paying
 Leased Premises. If the Lessor's Notice is for more than the                  Rent and performing the covenants of this Agreement, shall
 Leased Premises and Lessee elects to purchase in fee or acquire               peaceably and quietly have, hold and eajoy the Leased Premises
 a perpetual easement in only the Leased Premises, the terrns and              and Easements.
 conditions of said acquisition shall be the same terms and
 conditions as in Lessor's Notice but the purchase price shall be              26. J\llortgnges. This Agreement, Lessee's leasehold interest
 pro-rated on an acreage basis. If Lessee does not exercise its                and the Easements shall be subordinate to any mortgage .given
 right of first refusal by written notice to Lessor given within               by Lessor which currently encumbers the Leased Premises,
 thirty {30) days, Lessor may sell the property described in the               provided that any mortgagee shall recognize the validity of this
 Les~or's Notice. If Lessee declines to exercise its right of first            Agreement in the event of foreclosure. In the event that the
 refusal, then this Agreement shall continue in full force and                 Leased Premises is or shall be encumbered by such a mortgage,
 effect and Lessee's right of first refusal shall survive any such             Lessor shall obtain and furnish to Lessee a non-disturbance
 conveyance.                                                                   agreement for each such mortgage, in recordable form. If Lessor
                                                                               fails to provide any non-disturbance agreement Lessee, may
 19. S:'11e of Property. If during the Option Period, as same may              withhold and accrue, without interest, the Rent until such time as
 be extended, or Lease Tenn, Lessor sells all or part of Lessor's              Lessee receives all such documentation.
 Property, of which the Leased Premises is a part, then such sale
 shall be under and subject to this Agreement.                                 27. Title Insurance. Lessee, at Lessee's option, may obtain
                                                                               title insurance on the Leased Premises and Easements. Lessor
 20. Surrender of Propertv. Upon expiration or termination of                  shall cooperate with Lessee's efforts to obtain title insurance by
 this Agreement, Lessee shall, within a reasonable time, remove                executing documents or obtaining requested documentation as
 a~l above ground Improvements and below ground                                required by the title insurance company. I_f Lessor fails to
 Improvements to a point three (3) feet below grade, and restore               provide the requested documentation within thirty (30) days of
 the Leased Premises as nearly as reasonably possible to its                   Lessee's request, or fails to provide any non-disturbance
 original condition, without, however, being required to replace               agreement required in the preceding Section of this Agreement,
 any trees or other plants removed, or alter the then existing                 Lessee, at Lessee's option, may withhold and accrue, without
 grading.                                                                      interest, the Rent until such time as Lessee receives all such
                                                                               documentation.
 21. Recording. Lessee shall have the right to record a
 memorandum of the Option and a memorandum of this                             28. Default.
 Agreement with the appropriate recording officer. Lessor shall
 execute and deliver each such memorandum, for no additional                        (A) Notice of Default; Care Period. In the event that there
 consideration, promptly upon Lessee's request.                                is a default by Lessor or Lessee (the "Defauhing Party") with
                                                                               respect to any of the provisions of this Agreement or Lessor's or
 22. Hold Ham1less. Each party shall indemnify and defend the                  Lessee's obligations under this Agreement, the other party (the
 other party against, and hold the other party haimless from, any              "Non-Defaulting-Partv") shall give the Defaulting Party written
 claim ofliability or loss from personal injury or property damage             notice of such default. After receipt of such written notice, the


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  Defaulting Party shaU have thirty (30) days in which to cure any
                                                                                                   0
                                                                             32. Assignment, Snblease, Licensing and Encumbrance.
  monetary default and sixty (60) days in which to cure any non-             Lessee has the right, at its sole discretion, to assign its interest in
  monetary default. The Defaulting Party shall have such extended            this Agreement and to sublease or license use of the Leased
  periods as may be required beyond the sixty (60) day cure period           Premises, Easements and Improvements. Assignment of this
  to cure any non-monetary default if the nature of the cure is such         Agreement by Lessee shall be effective upon Lessee sending
  that it reasonably requires more than sixty (60) days to cure, and        written notice to Lessor and shall relieve Lessee from any further
  Defaulting Party commences the cure within the sixty (60) day              liability or obligation. Lessee has the further right to pledge or
  period and thereafter continuously and diligently pursues the              encumber its interest in this Agreement. Upon request to Lessor
  cure to completion. The Non-Defaulting Party may not maintain              from any leasehold mortgagee, Lessor agrees to give the holder
  any action or effect any remedies for default against the                 of such leasehold mortgage written notice of any default by
  Defaulting Party unless and until the Defaulting Party has failed         Lessee and an opportunity to cure any such default within
  to cure the same within the time periods provided in this Section.        fifteen (I 5) days after such notice with respect to monetary
                                                                            -defaults and within a commercially reasonable period of time
     · (B) Consequences of Lessee's Default.                Lessor          after such notice with respect to any non-monetary default.
 acknowledges that under the tenns of this Agreement, Lessee has
 the right to terminate this Agreement at any time upon one                 33. Billboard Modification. In the event Lessor must increase
 hundred eighty (180) days' notice. Accordingly, in the event that          the height of its existing billboard ("Billb_oard Modification")
 Lessor maintains any action or effects any remedies for default            due to the construction ofLessee's tower, Lessee will reimburse
 against Lessee, resulting in Lessee's dispossession or removal,            Lessor for up to Twenty-Five Thousand and 00/100 Dollars
 (i) the Rent shall be paid up to the date of such dispossession or         ($25,000.00) of Lessor's actual costs for the Billboard
 removal and (ii) Lessor shall be entitled to recover from Lessee,          Modification, provided Lessor submits to Lessee supporting
 in lieu of any other damages, as liquidated, final damages, a sum          documentation evidencing that the Billboard Modification is
 equal to six months' Rent. In no event shall Lessee be liable to           reasonably necessary du1: to construction ofLessee's tower along
 Lessor for consequential, indirect, speculative or punitive                with a cost estimate for Lessee's approval prior to commencing
 damages in connection with or arising out of any default.                  the Billboard Modification. Lessee will reimburse Lessor for
                                                                            such approved costs within thirty (30) days following receipt of
      (C) Consequences of Lessor's Defuult. In the event that               written n0tice from Lessor that the Billboard Modification has
 Lessor is in default beyond the applicable periods set forth above,        been completed.
 Lessee may, at its option, upon "\Vritten notice: (i) tenninate this
 Agreement, vacate the Leased Premises and be relieved from all             34. Miscell:meons.
 furthe.r obligations under this Agreement; (ii) perform the
 obligation(s) of Lessor specified in such notice, in which case                 (A) Ent.ire Al?rcemcnt. Lessor and Lessee agree that this
 anrexpenditures reasonably made by Lessee in so doing shall be             Agreement comains all of the agreements, promises and
 deemed paid for the account of Lessor and Lessor agrees to                 understandings between Lessor and Lessee. No oral agreements,
 reimburse Lessee for said expenditures upon demand; (iii) take             promises or understandings shall be binding upon either Lessor
 any actions that are consistent with Lessee's rights; (iv) sue for         or Lessee in any dispute, controversy or proceeding at law. Any
 injunctive relief, and/or sue for specific performance, and/or sue         addition, variation or modification to this Agreement shall be
 for damages, and/or set-off from Rent any amount reasonably                void and ineffective unless made in writing and signed by the
 expended by Lessee as a result of such default                             parties hereto. The terms, covenants and provisions of this
                                                                            Agreement shall extend to and be binding upon the respective
 29. LiID.i.tation on Damages. In no event shall Lessee be liable           executors, administrators, heirs, successors and assigns ofLessor
 to Lessor for consequential, indirect, speculative or punitive             and Lessee.
 damages m connection with or arising from this Agreement, or
 the use of the Leased Premises, Easements, and/or Utility                       (B) Captions. The captions preceding the Sections of this
 Easement.                                                                  Agreement are intended only for conveni~nce of reference and in
                                                                            no way define, limit or describe the scope of this Agreement or
 30. Lessor's Warver. Lessor hereby waives and releases any                 the intent of any provision hereof.
 and all liens, whether statuto:ry or under common law, with
 respect to any of Lessee's Improvements now or hereafter                        (C) Construction of Document.           Lessor and Lessee
 located on the Leased Premises.                                            acknowledge that this document shall not be construed in favor
                                                                            of or against the drafter by virtue of said party being the drafter
 31. Applicable L11w. This Agreement and the perfonnance                    and that this Agreement shall not be construed as a binding offer
 thereof shall be governed, interpreted., construed and regulated           until signed by Lessee.
 by the laws of the State where the Leased Premises is located.
 Any controversy or claim arising out of or relating to this                     (D) Notices. AU notices hereunder shall be in writing and
 Agreement, or the breach thereof, shall be decided by arbitration          shall be given by (i) established national courier service which
 administered by the American Arbitration Association in                    maintains delivery records, (ii) hand delive:ry, or (iii) certified or
 accordance with its Commercial Arbitration Rules, and judgment             registered mail, postage prepaid, return receipt requested.
 ori any award rendered by the arbitrator(s) may be entered in any          Notices are effective upon receipt, or upon attempted delivery if
 court having jurisdiction thereof.                                         delivery is refu"sed or if delivery is impossible because of failure
                                                                            to provide reasonable means for accomplishing delivery. The
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  notices shall be sent to Lessor at Lessor's Notice Address and to
                                                                                                0
                                                                           of such transfer to provide Lessee with a Change of Ownership
  Lesse_e at Lessee's Notice Address.                                      Form as provided for by Lessee, a completed IRS Form W-9, or
                                                                           its equivalent, and other related paper work to effect a transfer in
        (E) Partial Invaliditv. If any term of this Agreement is           Rent to the new Lessor. Lessor' s failure to provide the IRS Form
  found to be void or invalid, then such invalidity shall not affect       W-9 within thirty (30) days after Lessee's request shall be
  the remaining terms of this Agreement, which shall continue in           considered a default and Lessee may take any reasonable action
  full force and effect.                                                   necessary to comply with IRS regulations including, but not
                                                                           limited to, ~ithholding applicable taxes from Rent ~ayments. -
       (F) m.s Fonn W-9. Lessor agrees to provide Lessee with a
  completed m.s Form W-9, or its equivalent, upon execution of                 (G) Counterparts. This Agreement may be executed
  this Agreement and at such other'times as may be reasonably              simultaneously or in counterparts, each of which shall be deemed
  requested by Lessee. In the event the Lessor's Property is               an original, but all of which together shall constitute one and the
  transferred, the succeeding Lessor sha11 have a duty at the time         same agreement.



                                                           [Execution Page Follows]




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                                                                                  0
           IN WITNESS WHEREOF, Lessor and Lessee having read the foregoing and intending to be legally bound hereby, have
  executed -this Agreement as of the day and year this Agreement is fully executed.

                                                         LESSOR:
                                                         CIRCLE INN DEVELOPMENT & MANAGEMENT, INC.,
                                                         a California corporation,
                                                         as to an undivided one-half interest; and




                                                         LESSEE:
                                                         GLOBAL SIGNAL ACQUISITIONS IV LLC,
                                                         a Delaware limited liability company



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                                                                   EXIDBIT ''A''
                                                                  -Lessor's Deeds


                  RECORDING REQUESTED BY:
                                                                                                                      -    - -•   .... .. __      823
                  ClocStar Services, LLC.                                       2018-0166353.
                  MAil TAX STATEMENTS AND                                       14/38/291113:U Pn Fee: S Sl$.ID
                   WHEN RECORDED MAil. TO;                                      Pages or 3 .
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        Robert Fred Newsom, Jr.                                                 C6\.w\ty ., Al~e,olde
                                                                                P•ter i:lldana
        Circle Inn Development &                                                Aueoaor-COunty Cl•rk-Reeotder
        Management Inc.
        41396 Bitter Creek Court
        Temecula, CA 92591
                                                                              I ~ft?!M\l~~Hl'IYll lfl
                                                                                          SP   E ABOVE   nus J.JNE tS F~     Rl:COR0EffS lJSE
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       Fife No.: 17084-1 ELS                                                                    This conwyu~ cnanges the maMer in
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          Act0111modallon only, It h~ nOl te rev-d
          11& to ltll IICGurac:y or ftl off'ect on tillc.

       THE UNDERSIGNEO GRANTOR(S) OEWl'IE(S):                DOCUMEJITAAY TAANSFm ~AX IS s o.oo                01V TAX IS         s,_o._00_ _
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          TRA: 028-115                                       - ~ o n r u : i v.l!l,c,leu ~ard~aneea ll!nUla"ing at 11m11 af a.ale.
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                                                                                                         _ v.:a_"'
                                                                                                               1------
       For valuable C:Ofl81deratlon, receipt of which ls hereby acknowledged,
          Robert Fred Newsom, Jr., Trustee, or Successor Trustees, of the Michael David Newsome
          Revocable Living Trust dated November 21, 2002, as to an UncflVided one-half Interest.

       hereby REMISE, RELEASE AND FOREVER QUITClAJM to
         Circle Inn Development & Management Inc.• a California Corpo~tion


       !he followfng d~crlbed _property situated In the      tit'f cl Ju.-u;,a VaDey             , County of _Rille
                                                                                                               _ rsld
                                                                                                                    _ a_ _ _ _...,
       State of eanromla

       ALL OF THE GRANTOR'S UNDIVI.DEO ONE-HALF INTEREST IN AND TO THE FOLLOWING
       PROPERTY:

       Legal Description attached hereto as Exhibit "N and made a part hereof.


       C<>rnmonly Known As: Vacant Land, Riverside C<>unty, CA




                                                    MAIL TJ\X STATEMENTS AS OlR.ECTcO ABOVE

                                                                   Page 1 of2




                                                                                                                                                   i
                                                                            8                                                                   Exhibit "A"
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                                                                                                                 0
                                                                                                           DOC #2018-0166353 Page 2         or 3
                                                                               Michael David Newsome Revocable Living Trust
                Dated:   April 27, 2018                                        dated November21,2002 ~



                                                                              ~Robettfred Newsom.Jr.,~-                         ~




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                                                                    DOC #2018-0166353 Page 3 of 3




                                     EXHIBIT "An


             Pan»I 2 of Paroal U.,, 18845. In the Ccu,ty of RMnldt, State of Cdfofnle. at per
             Mep recorded IJt Book 121, PIIQU 69 and 70 of PatDII Mapa. In the Offlce of lhe
             Counly Raooar of iald County.

             EXCEPT THAT PORTION EASTERLY OF THE FOU.OWING OESCRlBED UNE:
            Commtlnclng at th1 Northeat COffllr d Parcel 2; ltl8nCe along lhe Northerl~ Nne of
            uld Parcel z 8oldtl 84 cllglw 22' 33" Weet • clll11nc1 of 38.72 fNt 101tao we point
            of blglnnlng: thlnoe parallel Wflh Ila Entit,ty Ont of aid ~ 2, Baulh Odtgftel
            1a•~ East ■ cftltlnoe oltt.oe fNtlhenc9 8aulh Mdea,Ne 41* 1&-WntadltllnCa
            of ti.CO r.et; thence ptnlel wlh the Ell111tj Im of Nld Parcel 2, South OdlQl'NI
            18' -48' Eat a dlttance of 13.77,_ ID 1 . . on Iha 8ou1h One of Parcel 2; uJd point
            being dll&lnt Noltll 80 deQrw 44• 31" Wat 53.01 feet tam the Sauthwt comet of
            Pa,ael 2, •• Ill bit ~ Notfol of Lot Line Adptment ,eoo,dtd M■Y e. 1993 at
            fns1rurnont No. 03-1eG592 c,f Offldlf Recatda.


            APN: 17~15~009-5




                                                   10                                               Exhibit"A"
Case 5:21-cv-02061-SSS-SHK Document 25 Filed 03/08/22 Page 35 of 45 Page ID #:224



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                         RECORDING RliOUESTEO nv:
                         OocStar Services, LLC.
                                                                               ··2018-0166354
                         f.WL TAX 6TAlEMr;NTS AfoiO                              M/Hl2tl& ll:4111 Pl1 FM: I HG.It
                         VV'ti!;N RECORDED MAIL TO;
             Robert Frod Newsom, Jr.
             Natlonal AssoclaUon or Real Estate
             Sales People
             41396 Bitter Creek Court
             Temecula. CA 92591
                                                - ~~~-...--..-~
                                                              . ------.......,,~~Ace"""~M~bvi:=--,~n~16~,.~m~s1~Y~F~~.~n=E~co~iioi:=A
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             FIie No,: t7004•1.ElS                                                                        Thil conveyenCQ c h ~ ltw m,'IIV!lfln
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             HIE UNllERS1Gr,,"E'o OR/\NTOR(S) DEClAAE(SJ            OOClM:lnARY l'RIJffi'l;RTAX.18$ 000                  CITY TAXlG   s,_0_00_ _
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                 TRA: 02B· 115                                     - ~ en M             "Al!Jt !Q-IA liln• and o«I.JT-4:<lnCff '~""" ~ l111f ol ~'
                                                                    _Umi>tA'!rpC.al,od111..i _1_et, t1_.v.     _· .;..f!l_wt.1
                                                                                                                           -'-----~

             For velu11blo 0on1ld1trntlon. rOOl!lpt ol which la hereby ocltnDWledged,
                 Robert Fred Nowaom, Jr, and Martha Consuelo Newsom, Tn.1slees, or Successor Truslcos, of tho
                 Newsom Family Trust dalod October 15, 2001, ea to an Undivided ono.halflnleres1.

             horc,by REM1Sf1. RELEASE ANO FOREVER QUtTCtAlM ta
                 National Association of Roni Eslato Sales Poopk>, a California Corporalloo



            11\tl loULWAng dttaetlbod ~party 11tuatod In lho _d_ty _cf_Ju_N?-1  - - - - - - - . . , . Counly of
                                                                           _ V_•~                                       _RJ_~-•-~-----
            Stata of CAlllomla

             ALL OF THE GRANTOR'S UNDIVIDED ONE-HALF INTERi::ST IN AND TO TtiE FOLLOWING
             PROPERTY;

             Legal Description attach~d hereto e!l Exhibit "A" and made a part hereof.


             Commonly Known As: Vacant Land, Rlver11ldo County. CA




                                                           MAll TAX STATl:MENTS AS DIRECTED ABOVE

                                                                          Page 1 of 2




             I
 879842,99-:Y /B                                                                11                                                                          ):':xhibit "A"
 Case 5:21-cv-02061-SSS-SHK Document 25 Filed 03/08/22 Page 36 of 45 Page ID #:225


  .
•·,                                                                                                               0
                                                                                                              DOC#20t6-0166354 Page2of3


                                                                                  Newsam Family Trust dated OctQber 15, 2001
                   Dated: Aprll 27, 2018

                                                                               ~J;;i~cB-~~
                                                                                 Robert Fred Newsom. Jr.• Trustee                         ~

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                  _2.~~!),l'!. ~!0)hlu cc~.!'~~.!I~ nol lhe truthlulrum. ec.cura , or val                              of lhat do,cumonl.

                  STATE OF        California                            )
                                                                        I§
                  COUNTY OF      ~ ror~'lde                             )

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                                                                                                     Notal)' Public, perSOM"Y
                  appcllre<I Robert Fred Newsom. J:. ond Martha Consuelo Newsom•-••u• ..--••• ...................,•• ,........ .
                  who proved to mo on tho basis or aatillfactO<Y OV.dol10D lo be Ifie pc,rsor.(s) M10S11 name(a) lalaro IIJblCl'ibed to the
                  within lnslrumen! and acknov,fe<l~d to me that he/SMl!hoy e.KKU'.ed Iha samllr In hWherllholl aulhDf1zod aipadly(lo&),
                  and lhat by hlalhatJthftlr elgnature(a) on the lnalrum!fll lhe per$0n(&), or the eintay 1--pon behalf of which the porson(s)
                  aclecf, executed the lnetrumenl.
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                  corroct.
                  WITNESS my hand and official Htll.




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                                                                             Page 2of 2




      879842/'19:r:ltB                                                            12                                                                   Exhibit "A"
Case 5:21-cv-02061-SSS-SHK Document 25 Filed 03/08/22 Page 37 of 45 Page ID #:226


                                                                                      DOC# 2019-0267431
                                                                                      07/18/2019 11:01 AM Fees: $98.00
                                                                                      Page 1 of 4
                                                                                      Recorded in Official Records
                                                                                      County of Riverside
   WHEN RECORDED RETURN TO;                                                           Peter Aldana
   Global Signal Acquisitions IV LLC                                                  Assessor-County Clerk-Recorder
   830906/Jul'Upa Circle
   1220 Augusta, Suite 600
                                                                                      "This document was electronically submitted
   Houston, Texas 77057                                                               to the County of Riverside for recording ..
                                                                                      Receipted by: ADRIENNE #823
   Prepared by:
   Parker Legal Group, PC
   600 West Broadway, Suite 700
   San Diego, CA 92101
                                                            Space above this line for Recorder's Use
   A.P.N. 173-153-009               Prior Recorded Document(s) in Rivenlde County, California:
                                                   Recorded on June 19, 2018, at #2018-0247134

            NOTICE OF EXERCISE OF OPTION AND GROUND LEASE AGREEMENT

            GLOBAL SIGNAL ACQUISITIONS JV LLC, a Delaware limited liability company,
   ("Lessee"). having a mailing address of2000 Corporate Drive, Canonsburg, Pennsylvania 1S317,
   hereby provides notice of its exercise of the option C'Option") set forth in that certain Option and
                               .                                             '

   Ground Lease Agreement (as may be amended and/or assigned) (the "Agreement'? by and
   between CIRCLE INN DEVELOPMENT & MANAGEMENT, INC., aCatifomla corporation, as
   to an undivided one-half interest; and NATIONAL ASSOCIATION OF REAL ESTATE SALES
   PEOPLE, a California corporation, as to an undlvided one-half interest, having a malling address
   of 41396 Bitter Creek Comt, Temecula, California 92591-l 545 C020 ("Lessor'') and Lessee dated
   May 31, 2018, a memorandum of which was recorded in the real property reco1·ds ofR)vel'side
   Co\lnty, California on June 19, 2018, at Instniment No. 2018-0247134, for the property described
   on Exhibit B (the "Premises,,), being a portion of the property described on Exhibit A (the
   "Lessor's Property").



                                            Documcotazy Ttansfcr Tnic $   Q, oO
                                            _    Computed on full value of property
                                            _    Computed on full value less Ilens nnd cnoumbro.nccs remaining at time of sale
                                            _   Computed on full value of leiJso &urpasslng tho 35-yc8r term Iimit _ __
                                                Computed on leased area ofthe property
                                            =:K_Exemp!-rem11iolng leaso term wllh renewal options is 3S years or less
                                                   Thd v C           ofLosAngeles(1989)210Cal.App.3d881

    Site Name: Juropa Circle            1
    DUN:830906
    Deal ID: 9970
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                                                                              DOC #2019-0267431 Page 2 of 4




             The Option was duly exercised by Lessee on   ~ ·d-9 ~   \Z    pursuant to terms specified
   in the Agreement. Accordingly, the Commencement Date of the Agreement shall be September
    1,2018.

            In the event of any inconslstency between this Notice and the Agreement, the Agreement
  . shall control.

            The terms, covenants and provisions ofthe Agreement shall extend to and be binding upon
   the respective executors, administrators, heirs, successors and assigns of Lessor and Lessee.

            This Notice does not contain the social security number of any person.

            A copy of the Agreement is on file with Lessor and Lessee,


                                        [Execz,tlon Page Follows]




   Sile Namo: Jurupa Circle                         2
   BUN:830906
   Deni ID: 9971
Case 5:21-cv-02061-SSS-SHK Document 25 Filed 03/08/22 Page 39 of 45 Page ID #:228


                                                                                                   DOC #2019-0267431 Page 3 of 4




             IN WITNESS WHEREOF, hereunto and to duplicates hereof, Lessee has caused this
                                                                                          \
   Notice of Exercise of Option and Ground Lease Agreement to be duly executed on the _21_
   day of    £<woUtfsr                   •20 \Cb.
                                                                             LESSEE:
                                                                             GLOBAL SIGNAL ACQUISITIONS IV LLC,
                                                                             a Delaware limited liability company



                                                                             By:l\Jj~~
                                                                             Print Name: Melanie Webb
                                                                             Title:      Sen/orTransaotlon Manager
   StateofTexas              .
   County of      t\,a,W\~
   Before m~.,        Rebecca Julia Byme                         , ~ NoJ.11.!¥ Public, on this day personally appeared
         .Jf)lAam Q.)Qob I                      , ~.. ~ n ~. of GLOBAL SIGNAL
   ACQSJ.TIONSIV LLC, lsoown to m~ (or proved to me on the oath of ~ ~                   or through driver's
   license, state id card, rosident id card, military Id card, or passport) to be o person whoso name Is
   subscribed to the foregoing instrument and acknowledged to me that she/ho oxocuted tho same for tho
   purposes and consideration therein expressed.                                               -
   Given \lnder my hand and seal of office this                      2"1     1
                                                                                 du.yof       AU.~.201.$

                                   ~~V~P,;  11
                                                       REBECCA JULIE BVANS
                                  l
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                                 /i f~ ~ Not&ry Publlo, State of Texos
   (Personalized Seal)           ~ ~'AJl'
                                   1
                                                 1 Comm. E:icplre, 01•23-2022
                                  ~111111,~\"'         No1ary ID 131419448




   Site Name: Jurupa Circle                                            3
   BUN:830906
   Deal ID: 9971
Case 5:21-cv-02061-SSS-SHK Document 25 Filed 03/08/22 Page 40 of 45 Page ID #:229


                                                                         DOC #2019-0267431 Page 4 of 4




                                           EXHIBIT A
                              (Legal Description of Lessor's Property)

   THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF RIVERSIDE,
   COUNTY OF RIVERSIDE, STATE OF CALIFORNIA AND IS DESCRIBED AS FOLLOWS:

   PARCEL2 OFPARCELMAPNO 16845ASSHOWNBYMAPONFILEINBOOK 121 PAGE
   70 OF PARCEL MAPS, RECORDS OF RIVERSIDE COUNTY, CALIFORNIA, EXCEPTING
   THAT PORTION EASTERLY OF THE FOLLOWING DESCRIBED LINE: COMMENCING
   AT 111B NORTHEAST CORNER OF PARCEL 2; THENCE ALONOTHENORTHERLYLINE
   OF SAID PARCEL 21 SOUTII 64 DEGREES 2' 33" WEST A DISTANCE OF 38.72 FEET TO
   THE TRUE POINT OF BEOINNINO; THENCE PARALLEL WITH THE EASTERLY LINE
   OF SAID PARCEL 2; sourn O DEGREES 18'45" EAST A DISTANCE OF 91.06 FEET;
   THENCE SOUTH 89 DEGREES 41'1S WEST A DISTANCE OF 18.00 FEET; THENCE
                                           0


   PARALLEL WITH THE EASTERLY LINE OF SAID PARCEL 2, SOUTH ODEGREES 18 '45"
   EAST A DISTANCE OF 83.77 FEET TO A POINT ON THE sounr LINE OF PARCEL 2;
   SAID POINT BEING DISTANT NORTH 89 DEGREES 44"37" WEST 53,01 FEET FROM TIIE
   SOUTHEAST CORNER OF PARCEL 2.

   PARCEL ID#: 173-153-009

   THIS BEING THB SAME PROPERTY CONVEYED TO CIRCLE INN DEVELOPMENT &
   MANAGEMENT, INC FROM ROBERT FRED NEWSOM, JR., TRUSTEE, OR SUCCESSOR
   TRUSTEES, OF THE MICHAEL DAVID NEWSOME REVOCABLE LIVING TRUST DATED
   NOVEMBER 21, 2002 IN A DEED DATED APRIL 27, 2018, RECORDED APRIL 30, 2018,
   ASINSTRUMENTNO. 2018~01663S3.

   THIS ALSO BEING A PORTION OF THE SAME PROPERTY CONVEYED TO NATIONAL
   ASSOCIATION OF REAL ESTATE SALES PEOPLE, A CORPORATION FROM ROBERT .
   FRED NEWSOM, JR. AND MARTIIA CONSUELO NEWSOM, TRUSTEES, OR
   SUCCESSOR TRUSTEES, OF THE NEWSOM FAMILY TRUST DATED OCTOBER 1S, 2001
   IN A DEED DATED APRIL 28, 2018, RECORDED APRIL 30, 2018, AS INSTRUMENT NO.
   2018-0166354,                                          I




   Site Name: Jurupa Circle                      4
   BUN:830906
   Dea!JD: 9971
Case 5:21-cv-02061-SSS-SHK Document 25 Filed 03/08/22 Page 41 of 45 Page ID #:230




                     EXHIBIT B
Case 5:21-cv-02061-SSS-SHK Document 25 Filed 03/08/22 Page 42 of 45 Page ID #:231

----- Original Message -----
From: Henry, Grace

To: Robert ; igotnews4u@msn.com
Cc: Goetz, Rick
Sent: Saturday, July 28, 2018 10:30 AM
Subject: Update on the Lease

Good morning, Bob and Mike

—

Bob it was nice to speak with you yesterday. I wanted to follow up the phone call.
We will be ﬁling for zoning within the next couple weeks. We will also be executing the lease at the end of
August, so you two will be receiving the rent check starting in September.

If you have any questions, please let me know.

I hope you both have a good weekend!

Thank you,

GRACE HENRY
Urban Planner – Strategic Relocation
T: (713) 570-3829 | M: (281) 352-0543
CROWN CASTLE
1220 Augusta, Suite #500 Houston, TX 77057 Crowncastle.com




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                     EXHIBIT C
Case 5:21-cv-02061-SSS-SHK Document 25 Filed 03/08/22 Page 44 of 45 Page ID #:233

   ----- Original Message -----
  From: Henry, Grace
  To: Robert
  Cc: Ruiz, Edward
  Sent: Tuesday, November 5, 2019 2:41 PM
  Subject: Crown Castle BUN 879842 Circle Inn

  Hi, Bob—

  I hope you are doing well! I spoke with Rick, and he received your voicemail. He is in meetings all day, so I
  wanted to reach out to you about your inquiry.

  As we discussed, Crown has to run through due diligence processes before any construction can occur. We are
  currently working through our regulatory/environmental studies.

  In regards to your escalation inquiry, I am looking into when you should expect to see the annual escalation
  increase. I will let you know as soon as I hear back from our internal team that is involved with rent escalations.

  I will follow up when I have further information for you.

  Thank you!
  GRACE HENRY
  Site Acquisition Specialist – Strategic Relocation
  T: (713) 570-3829 | M: (281) 352-0543

  CROWN CASTLE
  1220 Augusta, Suite #300 Houston, TX 77057
  Crowncastle.com




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     1                             CERTIFICATE OF SERVICE
     2
               This Certificate of Service is made in compliance with Local Rule 5.1.2 and

     3
         Civ.R.5(b). I am employed in the County of San Bernardino, State of California. I

     4
         am over the age of 18 and not a party to the within action. My business address is

     5
         3800 Concours St., Ste. 300 Ontario, CA 91764.

     6
               On the date indicated below, a true and correct copy of the foregoing

     7
         PLAINTIFF’S FIRST AMENDED VERIFIED COMPLAINT filed with Court

     8
         and served electronically and will be available for viewing and downloading from

     9
         the Court’s CM/ECF system:

    10
               The Notice of Electronic Case Filing automatically generated by the system

    11
         and sent to all parties entitled to service under the Federal Rules of Civil Procedure

    12
         and the Local Rules of the Central District of California who have consented to

    13
         electronic service shall constitute service of the filed document to all such parties.

    14
               Executed on, March 8, 2022, at Ontario, CA.

    15
               I declare under penalty of perjury that I am employed in the office of a member

    16
         admitted to practice before the District Court for the Central District of California

    17
         and ECF registered in this Court at whose direction the service was made and that

    18
         the foregoing is true and correct.

    19
    20
                                                        By: /s/ James M. Blucker

    21
                                                           James M. Blucker

    22
    23
    24
    25
    26
    27
    28


                                                  -1-
                                         CERTIFICATE OF SERVICE
